       Case 1:17-cv-00215-LMG Document 67-3                  Filed 10/11/18      Page 1 of 2
                   Barcode:3535889-04 A-201-845 SUSP - Suspension Agreement     -




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                                        September 19, 2016



The Honorable Penny Pritzker
Secretary
Department of Commerce
1401 Constitution Avenue, N.W.
Washington, DC 20230

Dear Secretary Pritzker:

In order to serve our consumers and keep our employees working, food and beverage companies
depend on being able to get adequate supplies of sugar at reasonable prices. Unfortunately, U.S.
sugar policies have long worked in the other direction - restricting supplies and driving prices
artificially high.

In the 2018 farm bill, Congress must finally reform outdated sugar policies. Surely the failure of
sugar subsidies since the 2014 farm bill was passed makes this clear: When the ink was barely
dry on the present farm bill, big sugar processors defaulted on government loans, taxpayers were
left holding the bag, and the government was literally compelled to purchase surplus sugar and
then re-sell it at a huge loss to ethanol plants to produce fuel.

Even before the next farm bill is written, sugar markets have unfortunately been further distorted
by the suspension agreements between the United States and Mexico. Although these
agreements are preferable in theory to the antidumping and countervailing duties that would
otherwise apply to Mexican sugar, the pacts badly need to be renegotiated and changed to
encourage a more competitive marketplace.

In practice, the agreements have created new sugar price floors that are higher than the ones
Congress voted for. They have also unnecessarily distorted the flow of raw and refined sugar
from Mexico to the United States, leaving coastal cane sugar refineries short of supplies they
need to make use of their refining capacity. Since our members rely on these refiners for sugar
supplies, their predicament is a concern to us as well.




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        Case 1:17-cv-00215-LMG Document 67-3               Filed 10/11/18    Page 2 of 2
                  Barcode:3535889-04 A-201-845 SUSP - Suspension Agreement   -




Despite what some Washington sugar lobbyists may assert, the solution to these problems is not
to impose still higher prices. In particular, under no circumstances should the Department of
Commerce agree to increase the reference price for refined sugar in the current agreements.

We are aware that the Department of Commerce and the Government of Mexico are meeting to
discuss changes to the suspension agreements. We strongly urge that any revised agreements
should:

   •    Reduce the reference (minimum) prices in the agreements to the support prices
        established by Congress in law, and reject any calls for further increasing these prices;
   •    Increase the restrictive stocks-to-use target in the current agreements to ensure adequate
        supplies;
   •    Increase the amount of raw sugar Mexico is required to ship to the United States; and
   •    Hold a public comment period on any changes before they are proposed in discussions
        with the Government of Mexico, so that U.S. food companies and other stakeholders who
        will be directly affected have a chance to make their views known.

Thank you very much for your leadership, consideration and assistance in this important matter.
Industrial users of sugar do not want the suspension agreements thrown out, because then
punitive tariffs would cut off virtually all sugar trade with Mexico. Instead, we support
renegotiating the deals - but to improve them, not make them even worse and further harm
refiners and consumers.

                                            Sincerely,




                                          Richard Pasco
                                            President




                                                 2


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